       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Jesus Davila Bailey, III
        v. Commonwealth of Virginia
        Record No. 0613-18-3
        Opinion rendered by Judge Russell on
        July 30, 2019

    2. Jack Randall Young
        v. Commonwealth of Virginia
        Record No. 0687-18-2
        Opinion rendered by Chief Judge Decker on
        July 30, 2019

    3. Timothy Ducharme
       v. Commonwealth of Virginia
       Record No. 0706-18-4
       Opinion rendered by Senior Judge Annunziata on
        August 6, 2019
